The Honorable David R. Matthews State Representative P.O. Box 38 Lowell, AR  72745
Dear Representative Matthews:
This is in response to your request for an opinion regarding the Arkansas Freedom of Information Act ("FOIA"), which is codified at A.C.A. 25-19-101 et seq.  Specifically, you wish to know whether the results of faculty evaluations conducted by the University of Arkansas at Fayetteville ("UAF") Associated Student Government ("ASG") may be published for public review.
Please note that I have enclosed a copy of Opinion Number 90-086 which was recently issued in response to this question.
The foregoing opinion, which I hereby approve, was prepared by Assistant Attorney General Elisabeth A. Walker.